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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                    NORFOLK DIVISION



MATSON NAVIGATION COMPANY,
INC., MATSON LOGISTICS, INC.,

                           Movant,

        v.                                           No.: 2:23-cv-00178

CMA CGM AMERICA LLC,

                           Respondent.



       This matter is before the Court on Matson Navigation Company, Inc.’s and Matson

Logistics Inc.’s (“Matson’s”) Motion to Compel Compliance with Rule 45 Subpoena. Matson

moves to compel non-party CMA CGM America LLC’s (“CCA’s”) compliance with a subpoena

served on CCA in the matter American President Lines, LLC v. Matson, Inc., No. 1:21-cv-020240-

CRC (D.D.C.). Having considered the papers submitted by the parties, the relevant authorities,

and the oral arguments of counsel, hereby GRANTS Defendants’ motion.

       Pursuant to Federal Rule 45(d)(2)(B)(i), CCA is HEREBY ORDERED:

                to search for and produce documents in its possession, custody, or control in

                 response to Requests 3, 11, 16, 17, 19, 20, 21, 22, 23, 24, 25, 26, 28, 31, 34, 35,

                 and 37 of Matson’s document subpoena, including documents in the possession

                 of CMA CGM S.A.;

                to produce its complete submissions to Congress that are responsive to Request

                 38; and
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             to search for and produce documents in the possession of CCA employees Marc

              Marling and Patricia O’Neil that are responsive to Request 29 and 30.

      CCA’s objections to searching for and producing documents in response to the above

Requests are hereby OVERRULED.

      IT IS SO ORDERED



DATED: _________________________                  ____________________________________

                                                  The Hon. ____________________________
                                                  United States District Judge




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